  1       JAMES L. DAY (WSBA #20474)                     HONORABLE WHITMAN L. HOLT
          BUSH KORNFELD LLP
          601 Union Street, Suite 5000
  2       Seattle, WA 98101
          Tel: (206) 292-2110
  3       Email: jday@bskd.com
          SAMUEL R. MAIZEL (Admitted Pro
  4       Hac Vice)
          SAM J. ALBERTS (WSBA #22255)
          DENTONS US LLP
  5       601 South Figueroa Street, Suite 2500
          Los Angeles, California 90017-5704
  6       Tel: (213) 623-9300
          Fax: (213) 623-9924
          Email: samuel.maizel@dentons.com
  7       Email: sam.alberts@dentons.com
          Attorneys for the Chapter 11 Debtors and
  8       Debtors In Possession

  9                       UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF WASHINGTON
 10       In re:                            Chapter 11
                                            Lead Case No. 19-01189-11
          ASTRIA HEALTH, et al.,            Jointly Administered
 11
                    Debtors and             DEBTORS’ NOTICE OF (1) MOTION FOR
 12                 Debtors in 1            APPROVAL OF INTERIM LEASE OF
                    Possession.             ASTRIA REGIONAL MEDICAL CENTER
 13                                         TO THE STATE OF WASHINGTON IN
                                            RESPONSE TO THE COVID-19
 14                                         PANDEMIC AND (2) REQUEST FOR AN
                                            EMERGENCY HEARING THEREON;
 15                                         DECLARATIONS OF MICHAEL LANE

 16

 17
      1
     The Debtors, along with their case numbers, are as follows: Astria Health (19-01189-11), Glacier
 18 Canyon,  LLC (19-01193-11), Kitchen and Bath Furnishings, LLC (19-01194-11), Oxbow Summit,
    LLC (19-01195-11), SHC Holdco, LLC (19-01196-11), SHC Medical Center - Toppenish (19-
    01190-11), SHC Medical Center - Yakima (19-01192-11), Sunnyside Community Hospital
 19 Association (19-01191-11), Sunnyside Community Hospital Home Medical Supply, LLC (19-
    01197-11), Sunnyside Home Health (19-01198-11), Sunnyside Professional Services, LLC (19-
    01199-11), Yakima Home Care Holdings, LLC (19-01201-11), and Yakima HMA Home Health,
 20 LLC (19-01200-11).
                                                           D EN TON S US LLP               B USH K ORN FELD L LP
 21 NOTICE OF INTERIM LEASE                                         SUITE 2500
                                                             601 South Figueroa Street
                                                                                                     LAW OFFICES
                                                                                             601 Union Street, Suite 5000
      AND REQUEST FOR                                    Los Angeles, California 90017-5704 Seattle, Washington 98101-2373
      EMERGENCY APPROVAL                                 T 213-623-9300 / F 213-623-9924 T 206 292 2110 / F 206 292 2104
                                                     1
     US_Active\114524827\V-5
19-01189-WLH11         Doc 1150    Filed 03/29/20   Entered 03/29/20 21:41:17                  Pg 1 of 11
  1                                             AND NATE WEED IN SUPPORT
                                                THEREOF2
  2

  3            PLEASE TAKE NOTICE that Astria Health (“Astria”) and SHC Medical

  4 Center - Yakima, along with their above-referenced affiliated debtors and debtors in

  5 possession (collectively, the “Debtors”), in response to the infectious disease Severe

  6 Acute Respiratory Syndrome Coronavirus 2, which is the cause of the ongoing 2019

  7 coronavirus global pandemic (“COVID-19”) files the interim lease agreement (the

  8 “Interim Lease”), which although still subject to negotiations between the Debtors

  9 and DOH, will be substantially in the form of the document attached hereto as Exhibit

 10 A, by which the Debtors intend to lease its formerly-operating hospital facility Astria

 11 Regional Medical Center (“ARMC”) to the State of Washington Department of

 12 Health (acting through the Department of Enterprise Services) (“DOH” and

 13 collectively with the Debtors, the “Parties”) for a period of up to 6 months for $1.5

 14 million per month.

 15            PLEASE TAKE FURTHER NOTICE that the State of Washington and the

 16 DOH are working with the Federal Emergency Management Agency (FEMA) to

 17 expand capacity to treat patients infected with COVID-19 in Washington. ARMC,

 18 located in Yakima, Washington, is centrally located in the state and is currently a

 19

 20   2
          The Motion, Declarations in Support and Lease will be filed separately.
                                                               D EN TON S US LLP               B USH K ORN FELD L LP
 21 NOTICE OF INTERIM LEASE                                             SUITE 2500
                                                                 601 South Figueroa Street
                                                                                                         LAW OFFICES
                                                                                                 601 Union Street, Suite 5000
      AND REQUEST FOR                                        Los Angeles, California 90017-5704 Seattle, Washington 98101-2373
      EMERGENCY APPROVAL                                     T 213-623-9300 / F 213-623-9924 T 206 292 2110 / F 206 292 2104
                                                         2
     US_Active\114524827\V-5
19-01189-WLH11         Doc 1150      Filed 03/29/20     Entered 03/29/20 21:41:17                  Pg 2 of 11
  1 closed facility. Accordingly, to prepare to treat more COVID-19 patients in Eastern

  2 and Central Washington, the DOH desires to lease ARMC from the Debtors pursuant

  3 to the terms of the Interim Lease.

  4          PLEASE TAKE FURTHER NOTICE that on Sunday, March 29, 2020, the

  5 DOH informed the Debtors that the US Public Health Service resources (likely a

  6 military hospital unit) desires to begin on-site preparation at ARMC by March 30,

  7 2020. Further, DOH informed the Debtors that the State risks losing critical Federal

  8 resources that can be utilized to treat COVID-19 patients if access to a facility cannot

  9 be gained by March 30, 2020. The Debtors intend to permit such access upon the

 10 filing of this Notice.

 11          PLEASE TAKE FURTHER NOTICE that the Debtors will file an

 12 emergency motion (the “Motion”), pursuant to §§ 105(a) and 363(b) of title 11 of the

 13 United States Code and Rule 6004 of the Federal Rules of Bankruptcy Procedure,

 14 seeking 1) approval of the Interim Lease, nunc pro tunc to March 30, 2020, on an

 15 interim basis (the “Interim Relief”) and 2) subsequently, approval of the Interim Lease

 16 and a formal lease agreement that is being finalize and will be subsequently filed (the

 17 “Lease Agreement”) on a final basis. The Motion will be filed on an emergency basis

 18 to avoid immediate and irreparable harm given the exigencies presented by COVID-

 19 19 healthcare emergency.

 20          PLEASE TAKE FURTHER NOTICE that the Debtors hereby request that
                                                          D EN TON S US LLP               B USH K ORN FELD L LP
 21 NOTICE OF INTERIM LEASE                                        SUITE 2500
                                                            601 South Figueroa Street
                                                                                                    LAW OFFICES
                                                                                            601 Union Street, Suite 5000
      AND REQUEST FOR                                   Los Angeles, California 90017-5704 Seattle, Washington 98101-2373
      EMERGENCY APPROVAL                                T 213-623-9300 / F 213-623-9924 T 206 292 2110 / F 206 292 2104
                                                    3
     US_Active\114524827\V-5
19-01189-WLH11         Doc 1150   Filed 03/29/20   Entered 03/29/20 21:41:17                  Pg 3 of 11
  1 the Court schedule a hearing on the Motion and the Interim Relief to occur 24 hours

  2 after the filing of the Motion.

  3          PLEASE TAKE FURTHER NOTICE that the desired relief and an original

  4 form of the Interim Lease has been shared with counsel for Lapis Advisers, LP

  5 (“Lapis”) and UMB Bank, N.A. (“UMB,” and referred to with Lapis as the

  6 “Prepetition Secured Creditors”), counsel the Official Committee of Creditors (the

  7 “Committee”) and the office of United States Trustee (the “UST”).

  8          PLEASE TAKE FURTHER NOTICE that the Debtors will serve by email a

  9 copy of this Notice and Exhibit A on the Prepetition Secured Creditors, the

 10 Committee, the UST and any parties, including federal and state governmental

 11 entities, that are on the Debtors’ standard service and have agreed to receive service

 12 by email.

 13          PLEASE TAKE FURTHER NOTICE that, upon filing of the Motion and the

 14 setting of an emergency hearing on the Motion, the Debtors shall provide email notice

 15 of the entry of an order setting a hearing date upon each of the above-mentioned

 16 parties and any other parties in interest as the Court directs, including by telephonic

 17 notice. The Debtors submit that such notice is sufficient and that no other or further

 18 notice need be given. The Debtors will serve notice of a final hearing on the Motion

 19 to all parties who have requested service, along with the Motion papers on those

 20 parties who had not agreed to receive email service.
                                                          D EN TON S US LLP               B USH K ORN FELD L LP
 21 NOTICE OF INTERIM LEASE                                        SUITE 2500
                                                            601 South Figueroa Street
                                                                                                    LAW OFFICES
                                                                                            601 Union Street, Suite 5000
      AND REQUEST FOR                                   Los Angeles, California 90017-5704 Seattle, Washington 98101-2373
      EMERGENCY APPROVAL                                T 213-623-9300 / F 213-623-9924 T 206 292 2110 / F 206 292 2104
                                                    4
     US_Active\114524827\V-5
19-01189-WLH11         Doc 1150   Filed 03/29/20   Entered 03/29/20 21:41:17                  Pg 4 of 11
  1          WHEREFORE, for all the foregoing reasons, the Debtors respectfully request

  2 that the Court schedule an emergency hearing on the Motion and grant such further

  3 relief as is just.

  4
       Dated: March 29, 2020                    /s/ Sam J. Alberts
  5                                            JAMES L. DAY (WSBA #20474)
                                               BUSH KORNFELD LLP
  6
                                               SAMUEL R. MAIZEL (Admitted Pro Hac
  7                                            Vice)
                                               SAM J. ALBERTS (WSBA #22255)
  8                                            SARAH M. SCHRAG (Admitted Pro Hac
                                               Vice)
  9                                            DENTONS US LLP

 10                                            Attorneys for the Chapter 11 Debtors and
                                               Debtors In Possession
 11

 12

 13

 14

 15

 16

 17

 18

 19

 20
                                                          D EN TON S US LLP               B USH K ORN FELD L LP
 21 NOTICE OF INTERIM LEASE                                        SUITE 2500
                                                            601 South Figueroa Street
                                                                                                    LAW OFFICES
                                                                                            601 Union Street, Suite 5000
      AND REQUEST FOR                                   Los Angeles, California 90017-5704 Seattle, Washington 98101-2373
      EMERGENCY APPROVAL                                T 213-623-9300 / F 213-623-9924 T 206 292 2110 / F 206 292 2104
                                                    5
     US_Active\114524827\V-5
19-01189-WLH11         Doc 1150   Filed 03/29/20   Entered 03/29/20 21:41:17                  Pg 5 of 11
  1

  2

  3

  4                                          EXHIBIT A

  5

  6

  7

  8

  9

 10

 11

 12

 13

 14

 15

 16

 17

 18

 19

 20
                                                          D EN TON S US LLP               B USH K ORN FELD L LP
 21 NOTICE OF INTERIM LEASE                                        SUITE 2500
                                                            601 South Figueroa Street
                                                                                                    LAW OFFICES
                                                                                            601 Union Street, Suite 5000
      AND REQUEST FOR                                   Los Angeles, California 90017-5704 Seattle, Washington 98101-2373
      EMERGENCY APPROVAL                                T 213-623-9300 / F 213-623-9924 T 206 292 2110 / F 206 292 2104
                                                    6
     US_Active\114524827\V-5
19-01189-WLH11         Doc 1150   Filed 03/29/20   Entered 03/29/20 21:41:17                  Pg 6 of 11
Submitted via email to:
andrew.jenkins@des.wa.gov

March 29, 2020

Mr. Andrew Jenkins
Leasing Manager, Real Estate Services
Department of Enterprise Services
State of Washington

RE:     Interim Lease Proposal for Astria Regional Medical Center, Yakima, WA

Mr. Jenkins,

On behalf of our client, Astria Health (the “Landlord”), we’ve been authorized to present the following terms and
conditions of an interim lease agreement (“Interim Lease”) with the State of Washington Department of Health
acting through the State of Washington Department of Enterprise Services in accordance with its statutory authority
(the “Tenant”) for the real property located at 110 South 9th Avenue, Yakima, Washington (the “Premises”), also
known as the Astria Regional Medical Center (ARMC), as more specifically described below. The terms and conditions
contemplated herein are intended to be a binding Interim Lease until cancelled as set forth herein or until a more
detailed lease agreement (the “Lease Agreement”) between the parties is agreed to and executed. The proposed
Interim Lease and the Lease Agreement are subject to Bankruptcy Court approval, which is being sought on an
emergency basis with a full hearing to follow.

 Landlord:                              Astria Health

 Tenant:                                State of Washington Department of Health (“DOH”), by and through
                                        State of Washington Department of Enterprise Services (“DES”), both
                                        agencies of the State of Washington.

 Premises:                              The land and improvements known as Astria Regional Medical Center
                                        (ARMC) located at 110 South 9th Avenue, Yakima, WA, 98902, containing
                                        approximately 289,988 gross square feet on 7 floors (including
                                        basement). The Property contains approximately 6.07 acres bound by
                                        West Walnut Street to the south, South 10th Avenue to the west, West
                                        Chestnut Avenue to the north and South 8th Avenue to the east. Assessor
                                        Parcel Numbers are as follows:

                                         181324-31452 – 3.13 acres            181324-42488 – 0.16 acres
                                         181324-31431 – 0.21 acres            181324-42489 – 0.16 acres
                                         181324-31430 – 0.83 acres            181324-42490 – 0.16 acres
                                         181324-31429 – 0.25 acres            181324-42491 – 0.16 acres
                                         181324-31428 – 0.37 acres            181324-42492 – 0.16 acres
                                         181324-42487 – 0.16 acres            181324-42493 – 0.16 acres
                                                                              181324-42494 – 0.16 acres

                                        Although ARMC was most recently operated with a capacity of 148 beds,
                                        the former license provided for up to 214 beds and Landlord estimates
                                        there could be capacity for up to 243 beds with access to oxygen if




US_Active\114525023\V-1


19-01189-WLH11            Doc 1150       Filed 03/29/20        Entered 03/29/20 21:41:17              Pg 7 of 11
                                                                       Lease Proposal for State of Washington
                                                                               Astria Regional Medical Center
                                                                                               March 29, 2020

                                     configured properly. Tenant should confirm maximum bed capacity
                                     based upon its intended use of the Premises.

 Commencement Date:                  The Commencement Date shall be Monday, March 30, 2020, at which time
                                     the Tenant and all persons and entities acting by, through, or on behalf of
                                     Tenant shall have full access to the Premises. .

 Lease Term:                         This Interim Lease shall expire on September 30, 2020, unless replaced
                                     and superseded by the Lease Agreement, terminated in writing by Tenant
                                     with at least thirty (30) days’ notice, or terminated by the Bankruptcy
                                     Court.

 Base Rent:                          One Million Five Hundred Thousand Dollars ($1,500,000) per month,
                                     payable in arrears at the end of each month upon submission of executed
                                     vouchers. Landlord must register with the State of Washington’s
                                     statewide vendor system for payment to be processed; to ensure timely
                                     processing and payment, such registration should be completed as soon
                                     as possible.

 Additional Rent:                    The Base Rent shall be absolutely net to Landlord so that this Lease shall
                                     yield, net to Landlord, the Base Rent specified above during the Term and
                                     that all impositions, insurance premiums, utility charges, maintenance,
                                     repair and replacement expenses, all expenses relating to compliance with
                                     Laws, and all other costs, fees, charges, expenses, reimbursements and
                                     obligations of every kind and nature whatsoever relating to the Premises,
                                     which accrue during the Term or by reason of events occurring during the
                                     Term shall be paid or discharged by Tenant. In the event Tenant fails to
                                     pay or discharge any imposition, insurance premium, utility charge,
                                     maintenance repair or replacement expense which it is obligated to pay
                                     or discharge, Landlord may, but shall not be obligated to pay the same,
                                     and in that event Tenant shall immediately reimburse Landlord therefor
                                     and pay the same as Additional Rent, and, to the extent permitted by
                                     Washington State law, Tenant hereby agrees to indemnify Landlord from
                                     and against such impositions, insurance premiums, utility charges,
                                     maintenance, repair and replacement expenses, all expenses relating to
                                     compliance with Laws, and all other costs, fees, charges, expenses,
                                     reimbursements and obligations referred to above.

                                     Utility expense in 2019 were approximately $172,000 per month. This may
                                     or may not be indicative of what Tenant may experience depending on
                                     their specific use of the property.

 Permitted Use:                      The Premises shall be used for the purpose of surge capacity to deal with
                                     the expected patients from the novel coronavirus pandemic COVID-19,
                                     and any related medical purpose including but not limited to providing
                                     excess capacity for treatment of non-COVID-19 patients, (collectively, the
                                     “Medical Business”). Landlord expressly disclaims and makes no
                                     representations and warranties concerning the suitability of the Premises
                                     for the Medical Business, including, but not limited to, any governmental
                                     approvals required in connection therewith.




US_Active\114525023\V-1


19-01189-WLH11            Doc 1150    Filed 03/29/20        Entered 03/29/20 21:41:17               Pg 8 of 11
                                                                           Lease Proposal for State of Washington
                                                                                   Astria Regional Medical Center
                                                                                                   March 29, 2020

 Condition of Premises:                 Landlord shall deliver the Premises “as-is, where-is” in its current
                                        condition without any express or implied representation and/or warranty
                                        as to the suitability for Tenant’s intended use. Tenant shall be solely
                                        responsible for any and all necessary improvements to the Premises, as
                                        well as all maintenance and repair during the term of the Interim Lease.

                                        Upon expiration of the lease, Tenant shall, at Tenant’s sole cost and
                                        expense, deliver to Landlord possession of the Premises and the existing
                                        FF&E, in the same or better condition as the same were in upon delivery
                                        of possession thereof at the Commencement Date unless otherwise
                                        required by any Lease, agreement of the parties, or Bankruptcy Court
                                        order.

 Furniture, Fixtures & Equipment:       The Premises contain certain furniture, fixtures and equipment (the
                                        “FF&E”), a list of which shall be included as an exhibit to the Interim Lease.
                                        As indicated on the exhibit, certain FF&E shall be made available to Tenant
                                        during the term of this Interim Lease, the cost of which is included in the
                                        Base Rent indicated above. Other FFE and medical equipment may be
                                        made available to Tenants upon assumption of equipment leases or
                                        through other mechanism or agreement, as agreed to by the parties
                                        operating in good faith.

                                        Tenant acknowledges that certain FFE is on the Premises pursuant to
                                        equipment leases with third-party vendors who may have secured claims.
                                        Any such vendors can contact Tenant using the information provided
                                        pursuant to the “Notices” section below and to the extent possible Tenant
                                        will allow such vendors access to the leased FFE, provided however, that
                                        Landlord and all such vendors understand that the Premises will be used
                                        for response to the COVID-19 outbreak and access may be extremely
                                        limited or not allowed for certain time periods.

 Parking:                               Tenant shall have exclusive rights to all on-site parking contained within
                                        the Premises described above free of charge during the term of the lease.

 Notices:                               Landlord and Tenant shall each provide the other in writing the contact
                                        information for all persons/entities that shall receive notices under this
                                        Interim Agreement.

 Memorandum of Lease                    Landlord and Tenant agree that either party may record a Memorandum
                                        of Lease in a mutually-agreeable form for this Interim Lease and for the
                                        Lease Agreement.

The terms and conditions contemplated herein are binding until cancelled as stated above or superseded by a more
detailed agreement (the “Lease Agreement”) between the parties. The Lease Agreement shall incorporate the terms
set forth in this Interim Lease and shall address additional terms and conditions not contemplated herein. This
Interim Lease and a full Lease Agreement are subject to Bankruptcy Court approval.

We appreciate your review and consideration of this proposal and look forward to your response. By my signature
below, I execute this Interim Lease on behalf of Landlord. If the foregoing terms and conditions meet your approval,
please sign for Tenant as indicated below. For convenience, the State of Washington’s standard Lease signature
block has been attached. Should you have any questions or concerns, please feel free to contact me directly.



US_Active\114525023\V-1


19-01189-WLH11            Doc 1150       Filed 03/29/20         Entered 03/29/20 21:41:17                 Pg 9 of 11
                                                               Lease Proposal for State of Washington
                                                                       Astria Regional Medical Center
                                                                                       March 29, 2020


 SIGNATURE PAGE FOLLOWS:




 US_Active\114525023\V-1


19-01189-WLH11             Doc 1150   Filed 03/29/20   Entered 03/29/20 21:41:17        Pg 10 of 11
                                                                       Lease Proposal for State of Washington
                                                                               Astria Regional Medical Center
                                                                                               March 29, 2020




 Sincerely,



 Travis Ives
 Senior Director
 US Healthcare Capital Markets
 Cushman & Wakefield
 (858) 334-4041
 travis.ives@cushwake.com

 CC:      John M. Gallagher, President and CEO, Astria Health
          Michael Lane, Chief Restructuring Officer, Astria Health
          Samuel Maizel (legal counsel for Astria Health), Dentons


 READ, REVIEWED BY COUNSEL, AND AGREED TO:


 STATE OF WASHINGTON

 Department of Health, State of Washington

 Acting through the Department of Enterprise Services


 By:
 Seth Wallace, Assistant Director
 Real Estate Services
 Date:

 RECOMMENDED FOR APPROVAL:


 By:
 Andrew Jenkins, Leasing Manager
 Real Estate Services
 Date:

 APPROVED AS TO FORM:


 By:
 David B. Merchant, Assistant Attorney General

 Date:




 US_Active\114525023\V-1


19-01189-WLH11             Doc 1150      Filed 03/29/20        Entered 03/29/20 21:41:17        Pg 11 of 11
